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6 1
                                 UNITED STATES DISTRICT COURT
A li                            CENTRAL DISTRICT OF CALIFORNIA
8 ',
9 '                                      WESTERN DIVISION

10

11

12
             UNITED STATES OFAMERICA                           Case No.CR 18-759-CJC
13

14

15
                           Plaintiff,

16                            v.                              BRIEF OF ANIICUS CURIAE
                                                             THE FREE EXPRESSION FOUN-
17                                                           DATION,INC.
18
                    ROBERT RUNDO,                      IN SUPPORT OF DEFENDANTS'MO-
19                                                     TION TO DISMISS THE INDICTMENT
20

21
                    ROBERT BOMAN,

22                 AARON EASON,and

23                    TYLER LAUBE,
24                        Defendants.
25

26

27

28




       FEF AMICUS BRIEF
     Case 2:18-cr-00759-CJC Document 140-1 Filed 05/08/19 Page 2 of 9 Page ID #:991



 i             The Free Expression Foundation, Inc.("FEF"), respectfully submits this brief as amicus
 2 'i
        curiae in support ofthe Motion to Dismiss the Government's Indictment filed by defendants
 3

 4 1 Robert Rundo, Aaron Eason, and Tyler Laube.

 5
                                             STATEMENT OF INTEREST
6
               The Free Expression Foundation, Inc.("FEF")is a fledgling SOlc3 nonprofit dedicated t
7

 g      providing legal support for persons that have suffered legal, financial, or social harm as a result
9
        ofthe exercise or attempted exercise of their rights offree expression, including their rights un-
io
11
        der the First Amendment. By fulfilling its mission, and specifically by submitting amicus curiae

12      briefs in key cases, FEF seeks to highlight and combat the growing threats to free expression anc
13
        freedom of assembly that have arisen in contemporary America -- a cultural milieu increasingly
14

15      beset by polarized viewpoints, invasive technology, disregard for the rule of law, and the break-

16      down of dialogue. Aspiring to protect the "uninhibited, robust, and wide open" debate on public
1~
        issues that seminal First Amendmentjurisprudence has articulated, FEF is particularly concernec
1s
19      about statutes, such as the Anti-Riot Act, that jeopardize both free speech and freedom of assem-
20
        bly.
21
                                                  ARGUMENT
22

23              I. The Anti-Riot Act Violates First Amendment Protections of Free Speech.
24
               Defendants, in their motion to dismiss, argue that the statutes are facially overbroad be-
25

26      cause they regulate a substanrial amount of protected speech and assembly. FEF concurs and

27      cites United States a Williams, 553 U.S. 285(2008)as providing a road map to the application c
28
        the First Amendment overbreadth doctrine. As the Supreme Court stated in Williams:


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 1       According to our First Amendment overbreadth doctrine, a statute is facially invalid if
2        it prohibits a substantial amount of protected speech. The doctrine seeks to strike a
         balance between competing social costs. Virginia r. Hicks, 539 U. S. 113, 119-120
3
        (2003). On the one hand, the threat of enforcement of an overbroad law deters people
4        from engaging in constitutionally protected speech, inhibiting the free exchange of
         ideas. On the other hand, invalidating a law that in some of its applications is perfect-
5
         ly constitutional—particularly a law directed at conduct so antisocial that it has
6        been made criminal—has obvious harmful effects. In order to maintain an appropriate
7
         balance, we have vigorously enforced the requirement that a statute's overbreadth
         be substantial, not only in an absolute sense, but also relative to the statute's plainly
s        legitimate sweep.
9
         The first step in overbreadth analysis is to construe the challenged statute; it is impossible
10       to determine whether a statute reaches too far without first knowing what the statute cov-
~1       ers.
12
          553 U.S. at 296.
13
         Analysis under Williams, accordingly, consists of several steps: reviewing the purpose ofthe
14

15    challenged statute, reviewing the plainly legitimate sweep ofthe statute, reviewing the harmful
16
      effects of invalidating a law, reviewing the effects ofthe law on protected speech, and then, if
17

18    prohibition of protected speech is substantial, balancing the competing social costs. This analy-

19    sis follows:
20
                                                     (A)
21

22                       The Anti-Riot Act Covers Acts that Might Lead to Riots

23           As the Seventh Circuit stated in U.S. a Dellinger, 472 F2d 340, 357-58 (7th Cir. 1972):
24
             As to the Anti-riot Act, the government at times argues that travel with intent and
25
             not expression is the "gravamen of the offense" and that, therefore, the doctrines
26           of the first amendment are not relevant to our determination of constitutionality.
             We are unable to accept this argument . . . It is by expression, in whatever form,
27
             that causation adequate to bring on punishment must be most likely to occur.
2s



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1    ~ The Anti-Riot Act thus covers the holding of an intent to commit any of a range of acts(mainly
2
      communication but also organizational) which might lead to a "not." The Act specifically covers
3
4 ~ assemblies ofthree or more people.
5
                                                      ~B)
6
         The Act's Inhibition on the Free Ezchange of Ideas Overwhelms Its Legitimate Scope
7
8            As Defendants have pointed out, the Anti-Riot Act was passed in 1968 to give the federal

9
      government a tool to respond to the civil rights and anti-war protests of the 1960s. The govern-
to
      ment emphasizes violence as the basis of the Act. However,FEF points out that the prohibited
11
12    act is not committing an act of violence but the holding ofan intent while crossing a state line or
13
      using "any facility of interstate or foreign commerce or including, but not limited to, the mail,
14
15    telegraph, telephone, radio, or television," followed at some time by an overt act.

16           Further, the mail, telegraph, telephone, radio, and television are not venues for rioting or
17
      violence itself but only for communication. While controlling violence at political assemblies is
1s
19    a legitimate goal, the "sweep" ofthe Anti-Riot Act was to control "pre-not communications

20
      which led to riots by controlling the intent of cirizens as they crossed state lines. There is no oth-
21
      er subject ofthe Act's sweep. The overbreadth ofthis sweep on protected speech is discussed in
22
23    Defendants' Motion to Dismiss the Indictment pages 6 through 11.
24
                                                      (C)
25
26             Invalidating the Anti-Riot Act Will Have Few or No Harmful Social Costs.
27
          The Anti-Riot Act has been invoked only twice in the last 40 years. It is an unused, unneces-
2s
      sary, and problematic law which, in this case, has involved federal intervention in scuffles be-


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 1    tween various political groups at legal assemblies held in California. The annulment ofthe Act
2
      would not leave any gap in the ability ofthe government to punish rioters. California itself has
3

4     Penal Code §404 and §405. The Federal government has the alternatives of actions under Title
5
      18, U.S.C., Section 241 -Conspiracy Against Rights, Title 18, U.S.C., Section 249 Hate Crimes
6
      Prevention Act, and 42 U.S.0 1985 (3).
7

s            In conclusion, while invalidating a federal law is a serious step for a court, the applicati
9
      ofthe required Williams analysis shows that the Anti-Riot Act is unconstitutionally infirm under
10
      the overbreadth doctrine.
11

12                    II. The Anti-Riot Act Violates Also Violates First Amendment
13
                                         Protected Rights of Assembly.
14

15           Defendants have discussed the adverse impact of the Anti-R.iot Act on the right to peace-

16    ably assembly with their discussion of the Heckler's Veto Doctrine. FEF concurs but further ob-
17
      serves that the injurious impact ofthe Anti-Riot Act on the First Amendment right to assemble
18

19    and associate must also be considered in a balancing of competing social costs.
20
              The Supreme Court has stated regarding Freedom ofAssembly:
21
             The very idea of a government, republican in form, implies a right on the part of its
22
             citizens to meet peaceably for consultation in respect to public affairs and to petition
23           for a redress of grievances [citing United States a Cruikshank,].... It follows from
24           these considerations that, consistently with the Federal Constitution, peaceable assem-
             bly for lawful discussion cannot be made a crime. The holding of meetings for peace-
25           able political action cannot be proscribed. Those who assist in the conduct of such
26           meetings cannot be branded as criminals on that score.

27
             De Jorge a Oregon, 299 U.S. 353, 364, 365(193
28
              The Anti-Riot Act adversely affects the right to hold assemblies because it makes the or-

      ganizers liable for the acts of third parties:
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  1          In many of its provisions (incite, organize, promote, encourage) the anti-riot statute
 2           relates to persons causing the possibility that others will riot, and makes those per-
             sons liable because oftheir causal rather than active role.
 3

 4       Dellinger, 472 F. 2d at 360. Further:
 5
             Debate reflected a belief, at least on the part of some, that the riots just did not hap-
 6           pen spontaneously but were the planned work of professional agitators whose home
 7
             bases frequently did not coincide with the geographical state of the occurrence.

 8       Dellinger, 472 F.2d at 410.
 9
                Congress in the Anti-Riot Act failed to consider that the "others" "incited" to riot might
to

11       not be part ofthe legal assembly but would be aggressive counterprotestors. The definition of

12
        "riot" in 18 U.S.0 § 2102 is consequently far too broad: "As used in this chapter, the term "riot"
13 I~
         means a public disturbance involving(1)an act or acts of violence by one or more persons part
14

15      of an assemblage of three or more persons." This definition of riot does not have a requirement
16
        that the three people are acting in accord with the organizer of the assembly. The saving clause
17
        of § 2102(b) only refers to "urging or instigating other persons to not."
18

19          The criminal liability of the organizer devolves into a question of intent to incite a riot under
20
         18 U.S.C. §2101 (a)(1). The Act leaves open the question of when an organizer has the requisite
21

22 "intent" to incite, organize, promote, encourage, abet or instigate a riot(given some use of a fa-

23      cility of interstate commerce). To give examples, a rally in San Francisco (or Berkeley)in sup-
24
        ~ port of Donald Trump, could (and did) provoke action by Anrifa types to block or disrupt the as-
2~

26      sembly. Confrontations would occur, certainly "threats of damage to property," and probably vi


27 I
2s
        lence. What attorney would advise a client organization to hold such an assembly? The Act

        leaves the question impermissibly open in a manner that significantly chills the right to hold le-

        gal assemblies.
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 i ~      III. The Anti-Riot Act Cannot Be Narrowly Construed to Sustain Its Constitutionality.
2 '1~
               The Anti-Riot Act is intrinsically about prohibiting communications. 18 U.S.C. §2101 (a)
3 '~

4 1 (1),(2), and (4)each list proscribed acts of communication relating to a riot: incite, promote, and

5 ~
        encourage. 18 U.S.C. §2102(b)reads:"As used in this chapter, the term "to incite a riot'', or "to
6
        organize, promote, encourage, participate in, or carry on a riot", includes, but is not limited to,
7

8       urging or instigating other persons to riot, but sha11 not be deemed to mean the mere oral or writ-
9
        ten (1)advocacy ofideas or(2)expression of belief, not involving advocacy of any act or acts
to
        violence or assertion ofthe rightness of, or the right to commit, any such act or acts."
11

12             Congress appears to have taken the "I can't define it but I know it when I see it"
13
        to its prohibitions on inflammatory speech. Section 2102(b)seems to have been added as a sav-
14

15      ings clause excluding some communications from prosecution. The trouble is that the savings

16      clause saves far too little. In the 50 years since Dellinger was argued, the Supreme Court has
17
        expanded protected speech beyond mere oral and written expressions with Texas a Johnson, 491
18

19      U.S. 397(1989)(flag burning); Cohen a California, 403 U.S 15(1971)(wearing a F***the
20
        Draft jacket to court); R.A.V iz City ofSt. Paul, 505 U.S. 377(1992)(burning a cross). First
21
        Amendment protection has also been extended in certain cases to assertions of the rightness of,
22

23      or the right to commit acts of violence); NAACP v Claiborn, 458 U.S. 886(1982); and Hess u
24
        Indiana, 414 U.S. 105 (1973)(reaffirming the imminent lawless action test first articulated in
25

26
        Brande~zbutg v Ohio). Section 2102(b)thus has the effect of locking in an obsolete definition of

27      permitted speech that taints all provisions of the Act that relate to communicarions.
28




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     Case 2:18-cr-00759-CJC Document 140-1 Filed 05/08/19 Page 8 of 9 Page ID #:997



 i                                                 CONCLUSION
 2

 3           The application of Willran~s to the Anti-Riot Act should include consideration of im

 4
      on First Amendment protected rights of assembly and association. The Act regulates a substanti
 5
     amount of protected speech and assembly and there is no counterbalancing sociality benefit i
 6

 7   the Act itself. There is no way to save the Act by judicial construction.
 8
             Congress spread its net far too widely when hastily drafting the Anti-Riot Act in 1968.
 9

to   From the outset it has been unconstitutional, in light of its vagueness, overbreadth, and conflicts
11
     with the heckler's veto doctrine and other First Amendment doctrines. But its defects have be-
12

13   come even snore manifest in the last ~0 years, given recent Supreme Court rulings on protected

14   expression. Congress did not consider that its definition of riot was too broad, that its imposition
15
     of liability was too expansive, or that its definition of intent was too amorphous and inclusive, all
16

17   to the effect of denying First Amendment protections to marginal ;roups most in need of them.

18
     For these reasons and the reasons set forth in the defendants' motion to dismiss, FEF urges that
19
     the defendants' motion be granted.
20
21                                                         Respectfully submitted,
22

23
                                                           Andrew Allen
24
                                                           Attorney for The Free Expression
25
                                                           Foundation
26

27

2s          Dated: May 6, 2019




     ~F AMICUS BRIEF
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 5
                                        CENTRAL DISTRICT OF CALIFORNIA
 6 ,
                                              WESTERN DIVISION
 7 1
       iJNITED STATES OF AMERICA                         CASE NO.: CR 18-759-CJC
 8
                        Plaintiff,
 9
        vs.                                              THE FREE EXPRESSION FOUNDATION,INC'S
10                                                       APPLICATION FOR LEAVE TO FILE ANIICUS
       ROBERT RUNDO,                                     CURIAE BRIEF
11
       ROBERT BOMAN,
12
        AARON EASON,and
13
       TYLER LAUBE
14
                        Defendants
15

16
                                              ORDER
17

18
                       Having considered the application of The Free Expression Foundation, Inc. to file
19
       an amicus curiae brief in support ofthe defendants' motion to dismiss the indictment, and any
20     opposition thereto, it is this       day of      ,2019, hereby ORDERED that the application
21     is Granted /Denied.
22

23

24
                                                     Hon. Cormac J. Carney, District Court Judge
25

26

27

28
       ORDER
